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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
DEVIN G. NUNES,
Plaintiff,
Vv. Civil Action No. 3:19cv889
CABLE NEWS NETWORK, INC.,
Defendant.
ORDER
Having considered the CONSENT MOTION TO EXTEND DEADLINE TO
RESPOND (ECF No. 9), and there being no objection by the plaintiff,
it is hereby ORDERED that the CONSENT MOTION TO EXTEND DEADLINE TO
RESPOND (ECF No. 9) is granted with modification. It is further
ORDERED that the defendant shall file its Answer and any other
motions with respect to the Complaint by January 17, 2020.

It is so ORDERED.

 

/s/ (Ct

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: December 20, 2019
